08-13555-mg        Doc 27504         Filed 04/19/12 Entered 04/19/12 20:58:18             Main Document
                                                 Pg 1 of 4



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 Robert J. Lemons

 Attorneys for Lehman Brothers
 Holdings Inc. and Certain of Its Affiliates

 UNITED STATES BANKRUPTCY COURT
 SOUTHERN DISTRICT OF NEW YORK
 -------------------------------------------------------------------x
                                                                    :
 In re                                                              :   Chapter 11 Case No.
                                                                    :
 LEHMAN BROTHERS HOLDINGS INC., et al., :                               08-13555 (JMP)
                                                                    :
                                     Debtors.                       :   (Jointly Administered)
                                                                    :
                                                                    :
 -------------------------------------------------------------------x

                          NOTICE OF ADJOURNMENT sine die
                    OF FORTIETH OMNIBUS OBJECTION TO CLAIMS
                 (LATE-FILED CLAIMS) SOLELY AS TO CERTAIN CLAIMS

                  PLEASE TAKE NOTICE that the hearing on the Fortieth Omnibus Objection to

 Claims (Late-Filed Claims) that was scheduled for April 26, 2012, at 10:00 a.m. (Prevailing

 Eastern Time), has been adjourned, solely as to the claims listed on Exhibit A attached

 hereto, to a date to be determined (the “Hearing”). Lehman Brothers Holdings Inc., as plan

 administrator under the Modified Third Amended Joint Chapter 11 Plan of Lehman Brothers

 Holdings Inc. and Its Affiliated Debtors for certain entities in the above-referenced chapter 11

 cases, will provide notice of the new date and time of the Hearing by (a) filing a notice of

 hearing with the Court and (b) serving the same upon the (i) the U.S. Trustee; (ii) the Securities

 and Exchange Commission; (iii) the Internal Revenue Service; (iv) the United States Attorney

 for the Southern District of New York; (v) each claimant listed on Exhibit A; and (vi) all other

 parties entitled to notice in accordance with the procedures set forth in the second amended order
08-13555-mg     Doc 27504      Filed 04/19/12 Entered 04/19/12 20:58:18           Main Document
                                           Pg 2 of 4



 entered on June 17, 2010, governing case management and administrative procedures for these

 cases [ECF No. 9635]. The Hearing will be held before the Honorable James M. Peck, United

 States Bankruptcy Court, Alexander Hamilton Custom House, One Bowling Green, New York,

 New York, Room 601, and such Hearing may be further adjourned from time to time without

 further notice other than an announcement at the Hearing.

 Dated: April 19, 2012
        New York, New York

                                             /s/ Robert J. Lemons
                                             Robert J. Lemons

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                                             Holdings Inc. and Certain of Its Affiliates




                                                2
08-13555-mg    Doc 27504      Filed 04/19/12 Entered 04/19/12 20:58:18   Main Document
                                          Pg 3 of 4



                                          Exhibit A

                                     Adjourned Claims:

                     Claimant Name                             Claim Number
  Biraschi, Paola                                                  34980
  Brooks, David J                                                  34559
  California Department of Water Resources                         35944
  Chauny, S.A.                                                     34873
  Colon Lopez, Elizabeth                                           34924
  De Jesus, Nestor E                                               34492
  De Nicola, Michela                                               65763
  Dmuchowski, John J                                               34401
  Filbee, Sarah M                                                  34468
  Focht, Deborah                                                   34380
  Focht, Deborah                                                   42914
  Franzo, Rosemarie                                                66393
  Fryer, Kelly                                                     39842
  Gelb, Jay                                                        35981
  Hahn-Colbert, Sandra M.                                          34728
  High Lodge Capital LLC                                           63540
  Iragorri, Julian                                                 64991
  Lev Ari, Tal                                                     65858
  Louisiana Citizens Property Insurance Corporation                36856
  Lynch, Brendan E.                                                35000
  Marsilio, Paul A.                                                66257
  McCarthy, Brian M.                                               35446
  McCarthy, Lawrence                                               66392
  Monahan, Maria                                                   34563
  Rayner, Ruth J.                                                  36598
  Rivkin, Jack L.                                                  66375
  Scavone, Joseph and Theresa                                      34945
  Scavone, Theresa, for Joseph Scavone                             34944
  Scellato, James                                                  41376
  Scellato, James                                                  41377
  Scellato, James                                                  41378
  Shen, Jiansheng Jensen                                           35437
  Sutton, Julian R                                                 35055
  Taylor, Christopher C                                            34879
  Temel, Tulug T.                                                  40791
  Tennant, Colin H                                                 34355
  Ventura County Tax Collector                                     65230
  Ventura, Giorgio                                                 35587
  Vereker, William                                                 62466
  WestLB AG                                                        36789
08-13555-mg   Doc 27504   Filed 04/19/12 Entered 04/19/12 20:58:18   Main Document
                                      Pg 4 of 4



                    Claimant Name                          Claim Number
  Wilkinson, Timothy B.                                        34829
  Zakian, Paul A.                                              36799
  Zanco, Mario                                                 35574




                                        4
